                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI

                                                      )
NAIL ALLIANCE, LLC, a Delaware limited                )
liability company,                                    0
                                                      )
                    Plaintiff,                        )   Case No.
         v.
                                                      )
                                                      )
POLY-GEL, L.L.C., a New Jersey limited                )
liability company; and DOES 1 through 100,            )
inclusive,                                            )
                                                      )
                    Defendants.                       )



                      COMPLAINT FOR DECLARATORY JUDGMENT

         Plaintiff Nail Alliance, LLC (“Plaintiff”), for its complaint against defendant Poly-Gel

L.L.C. (“Defendant”) for a declaratory judgment, alleges as follows:

                                  JURISDICTION AND VENUE

         1.      This action for declaratory relief arises under the Lanham Act, 15 U.S.C. § 1051

et seq., and the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq.

         2.      The Court has federal question jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

         3.      Plaintiff is informed and believes, and on that basis alleges, that the Court has

personal jurisdiction over Defendant who markets and/or sells products to consumers in Missouri

and is claiming that it has common law trademark rights, including by virtue of the use of its

trade name when it markets and/or sells the alleged goods to consumers in Missouri, because this

action arises directly out of Defendant’s asserted contacts to Missouri, upon which Defendant

has relied to claim superior rights over Plaintiff to use the subject mark in Missouri.

         4.      Venue is proper in this Court under 28 U.S.C. §§ 1391 (a), (b)(2).




61329309.2
              Case 4:17-cv-01026-FJG Document 1 Filed 12/11/17 Page 1 of 8
                                             PARTIES

         5.      Plaintiff Nail Alliance, LLC is a Delaware limited liability company with its

principal place of business Gladstone, Missouri.

         6.      Defendant Poly-Gel, L.L.C. is a New Jersey limited liability company with its

principal place of business in Whippany, New Jersey.

                                   GENERAL ALLEGATIONS

         7.      Plaintiff is a leading nail products company, which sells a variety of professional

nail products and ancillary cosmetic products, including skin care products. Plaintiff’s products

are marketed and sold to salons and licensed nail technicians, who purchase Plaintiff’s products

for use in salons when providing services to end users. Plaintiff sells its products through stores

and distributors who cater to salons and licensed technicians. Plaintiff’s lines of professional

nail products are not intended for sale directly to end users; Plaintiff has a separate retail brand,

RC RED CARPET MANICURE, for such products.

         8.      Plaintiff owns a number of professional brands. It has recently launched and

obtained a trademark registration for its newest professional product line, POLYGEL. Attached

as Exhibit (“Ex.”) “1” is a true and correct copy of Plaintiff’s trademark registration for

POLYGEL, which recognizes Plaintiff’s nationwide protection for POLYGEL.

         9.      POLY and GEL, by themselves, are marks used in a number of industries for a

wide away of good and services, which can be easily seen with a basic trademark

search. Accordingly, by themselves, they often are not strong marks or associated with a

likelihood of confusion in connection with different goods and services, especially unrelated

goods and services. Similarly, a trademark search for POLYGEL, itself, such as the one attached

as Exhibit “2,” reveals multiple trademark registrations, including four live registrations

associated with the following different goods and services and corresponding dates of first use in

                                                   2
61329309.2
              Case 4:17-cv-01026-FJG Document 1 Filed 12/11/17 Page 2 of 8
commerce – the fourth-listed registration is the one held by Plaintiff; the third-listed registration

is one held by Defendant:

Goods and Services IC 005. US 018. G & S: formulation in niacin tablets providing
                   controlled-release of niacin. FIRST USE: 19900604. FIRST USE IN
                   COMMERCE: 19900604

Goods and Services IC 001. US 001 005 006 010 026 046. G & S: Polymer compositions in a
                   liquid or paste form *as precursor for rubber and casting resins* for use in
                   the manufacturing of reproductions of surfaces for a wide variety of
                   industrial applications such as statues, art objects, marine crafts, and wall
                   formations. FIRST USE: 19900607. FIRST USE IN COMMERCE:
                   19900607

Goods and Services IC 010. US 026 039 044. G & S: ARCH SUPPORTS FOR BOOTS OR
                   SHOES; ORTHOTIC INSERTS, NAMELY, INSOLES, HALF
                   INSOLES, HEEL INSERTS IN THE NATURE OF HEEL LINERS,
                   AND SHOE INSERTS FOR PRIMARILY ORTHOPEDIC PURPOSES
                   IN THE NATURE OF FOREFOOT CUSHIONS, HEEL PADS AND
                   HEEL CUSHIONS, SHOE PADDING, BALL OF FOOT CUSHIONS,
                   AND HEEL PIECES FOR SHOES; ORTHOPEDIC SUPPORTS,
                   NAMELY, HEEL PROTECTORS. FIRST USE: 19991231. FIRST USE
                   IN COMMERCE: 19991231

Goods and Services IC 003. US 001 004 006 050 051 052. G & S: Cosmetics; Non-medicated
                   nail and skin care preparations; Beauty supplies, namely, nail care kits
                   composed primarily of cuticle oil, UV top coat, nail primer, nail
                   dehydrator, and also containing assorted nail files and nail buffers, acrylic
                   nail sculpting forms, acrylic sculpting nail brush and instruction booklet;
                   Hand and body lotion; Skin scrub; Nail enamel. FIRST USE: 20170301.
                   FIRST USE IN COMMERCE: 20170301

         10.    The United States Patent & Trademark Office (“USPTO”), in issuing Plaintiff’s

trademark registration, determined that Plaintiff’s use of POLYGEL for the listed goods/services

is not likely to cause confusion with any of these prior registrations, including Defendant’s

registration for “arch supports for boots or shoes; orthotic inserts . . . ; orthopedic supports . . . .”

         11.    Plaintiff’s trademark application published for opposition on August 9, 2016. The

registration issued on July 4, 2017, after no opposition was filed.


                                                    3
61329309.2
             Case 4:17-cv-01026-FJG Document 1 Filed 12/11/17 Page 3 of 8
         12.    Defendant describes itself as a medical products company, which entered the

healthcare marketplace in 1999. According to its website, Defendant has six product brands—

GelSmart, ThermActive, FlexiKold, NatraCure, NatraGel and Geluxury, which Defendant

markets to healthcare professionals. Plaintiff is informed and believes, and on that basis alleges,

that Defendant does not use POLYGEL as a brand for cosmetic or skin care products. Rather,

Defendant uses and has registered other marks, including NATRACURE and GELUXURY, as

source identifiers for any cosmetic and skin care products.

         13.    Nevertheless, Defendant has filed a Petition for Cancellation in the USPTO before

the Trademark Trial & Appeal Board (“TTAB”), which is attached as Exhibit “3.” Like the

USPTO, Defendant did not allege or assert any likelihood of confusion between (a) Plaintiff’s

use of POLYGEL as a source identifier for cosmetic products, including nail or skin care

products, with (b) any of Defendant’s registered trademarks, including those attached to its

Petition (see Ex. 1-3). In fact, while Defendant has a registration for POLYGEL as a source

identifier for “arch supports for boots or shoes; orthotic inserts . . . ; orthopedic supports . . . ,”

this registration is not cited in the Petition or relied upon by Defendant as the basis for its

Petition for Cancellation. Defendant did not allege or assert that the USPTO made a mistake in

issuing Plaintiff’s registration over Defendant’s registration for arch supports or orthotics.

         14.    Rather, relying upon its “trade name” and “web pages,” which advertise various

medical-related products, including skin-care apparel, that it sells to healthcare professionals and

makes available for private labelling, Defendant asserts a different ground for cancellation: That

it allegedly has superior common law rights in the United States, including in Missouri, for its

un-registered trade name as used in connection with cosmetic/skin-care products than Plaintiff

has in its registered POLYGEL trademark. See Petition ¶¶ 1-12, Ex. 5-6.



                                                  4
61329309.2
             Case 4:17-cv-01026-FJG Document 1 Filed 12/11/17 Page 4 of 8
         15.    There is no allegation in the Petition that Defendant’s un-registered trade name,

while used in the United States, has, in fact, penetrated the market in Missouri or any other state

and resulted in consumer awareness of POLYGEL as a source identifier for Defendant’s

cosmetic or skin-care products, as to which Defendant uses and has registered different marks as

source identifiers.

         16.    Moreover, there is no likelihood of confusion given that Defendant is in the

healthcare marketplace and in the business of selling/private labeling medical products and

ancillary skin-care apparel, and Plaintiff is in the professional nail care space, where the only

alleged overlap in products appear ancillary to the parties’ respective businesses. Indeed, there is

no risk of confusion, at all, among (a) Plaintiff’s consumers (salons and licensed technicians) and

(b) Defendant’s consumers (healthcare professionals/purchasers of medical-related products).

         17.    Accordingly, Plaintiff brings this action for declaratory relief. Plaintiff believes

and asserts, and based on the Petition is informed and believes that Defendant’s disputes, that

Plaintiff has superior rights in the United States in the mark POLYGEL for cosmetic products, at

least with respect to nail care products, because Plaintiff’s products, among other things, (a) are

different than Defendant’s products, (b) target different consumers, where Plaintiff’s consumers

work in a niche market unrelated to the healthcare space, (c) are marketed and sold through

different sales channels and are likely never viewed either side-by-side, or at all, by the same

consumers, and (d) are branded differently, including sold under different brand names as source

identifiers. It would be unreasonable and extremely unlikely for any ordinary consumer of the

parties’ respective products to overlap and be confused by the parties’ respective uses of the

mark POLYGEL. Rather, their respective uses have peacefully co-existed and can continue to

peacefully co-exist in Missouri and elsewhere without any likelihood of confusion.



                                                 5
61329309.2
             Case 4:17-cv-01026-FJG Document 1 Filed 12/11/17 Page 5 of 8
         18.    Plaintiff has satisfied and/or Defendant has waived any pre-condition for filing of

this action for a declaratory judgment.

                 CAUSE OF ACTION FOR DECLARATORY JUDGMENT

                   (15 U.S.C. § 1051 et seq, 28 U.S.C. § 2201, et seq.)
         19.    Plaintiff repeats and realleges the allegations in paragraphs 1 to 18 above, and in

Plaintiff’s Prayer for Relief below, as if fully set forth herein.

         20.    A real and existing case and controversy exists as to the parties’ respective rights

to use POLYGEL in the United States, including in Missouri, and Plaintiff’s right to register the

same, including for some or all of the listed goods.

         21.    Plaintiff has superior rights to use POLYGEL for cosmetic products, including

and/or at least with respect to nail products, which are unrelated to Defendant’s medical

products. Plaintiff is informed and believes, and on that basis alleges, that Defendant disagrees

with Plaintiff’s assertion of superior rights in the United States, including in Missouri, which

rights are evidenced by Plaintiff’s registration, and Defendant has petitioned to cancel the same.

         22.    Plaintiff has penetrated the market in Missouri and in every other state and

Plaintiff’s consumers recognize POLYGEL as a source identifier for Plaintiff’s products. In

contrast, Plaintiff is informed and believes, and on that basis alleges, Defendant has not

adequately penetrated the healthcare market in Missouri, let alone in all fifty states, and

consumers do not recognize POLYGEL as a brand or source identifier for Defendant’s cosmetic

or skin-care products, at least prior to Plaintiff’s use of POLYGEL in the professional nail

products marketplace.

         23.    There is no likelihood of confusion between the parties’ respective uses of the

mark POLYGEL, including Plaintiff’s use of the mark as a source identifier in the professional

nail products marketplace and Defendant’s use of the mark as a trade name in the healthcare

                                                   6
61329309.2
             Case 4:17-cv-01026-FJG Document 1 Filed 12/11/17 Page 6 of 8
marketplace, especially given that any overlap in their respective product lines would be

ancillary in nature to each party’s core business and sold primarily to different types of

professionals. As set out in the Petition, Defendant disputes this position.

         24.    Indeed, Defendant alleges in the Petition that Plaintiff’s trademark registration,

which recognizes and/or affords Plaintiff nationwide protection in POLYGEL, is causing

damage to Defendant and will continue to cause damage if not cancelled. In contrast, with or

without its registration, Plaintiff asserts that it has the superior right to use POLYGEL in

Missouri and throughout the rest of the United States because Plaintiff has used the mark as a

source identifier in connection with cosmetic goods before Defendant and therefore has priority

over the Defendant, and/or because there is no likelihood of confusion in connection with the

parties’ respective uses of the mark, including because of the differences between the parties’

respective goods, marketplaces and channels of trade, among other differences.

         25.    Accordingly, a real and existing case and controversy exists, and Plaintiff seeks a

declaratory judgment against Defendant. Given this Court’s primary and more comprehensive

jurisdiction over the parties’ respective trademark rights in the United States, Plaintiff believes

that the Petition and TTAB proceeding should be stayed pending resolution of this action. In

addition, in light of the Petition and the parties’ inability to resolve their differences without

court intervention, pursuant to 15 U.S.C. § 1117(a), Plaintiff seeks its costs and attorneys’ fees

under the facts and exceptional circumstances of this case.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment on its count for a declaratory judgment

against Defendant, including findings that: (1) Plaintiff has superior right to use the mark

POLYGEL in Missouri and in the rest of the United States, including and/or at least in

connection with nail products; (2) Defendant either has not made trademark use of POLYGEL

                                                 7
61329309.2
             Case 4:17-cv-01026-FJG Document 1 Filed 12/11/17 Page 7 of 8
for cosmetic or skin-care products, or any such use has not adequately penetrated the market in

Missouri, let alone in all other states, so as to overcome Plaintiff’s trademark registration; (3)

there is no likelihood of confusion relating to the parties’ alleged uses of the mark, including and

in particularly in nail products industry; and (4) Plaintiff is entitled to an award of costs and

reasonable attorneys’ fees and such other and further relief as the Court deems appropriate,

including a stay of the Petition before the TTAB.

                                      JURY TRIAL DEMAND

         Plaintiff demands a jury on all issues so triable.

                                                Respectfully submitted,


                                                By: /s/ Jay E. Heidrick
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                                                   8
61329309.2
             Case 4:17-cv-01026-FJG Document 1 Filed 12/11/17 Page 8 of 8
